                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                     at CHATTANOOGA


 UNITED STATES OF AMERICA                               )
                                                        )       Case No. 1:12-cr-129
                                                        )
 v.                                                     )
                                                        )       MATTICE / LEE
 PAULA PRICE                                            )
                                                        )


                                              ORDER

        Magistrate Judge Susan K. Lee filed a report and recommendation recommending the Court:

 (1) grant Defendant’s motion to withdraw her not guilty plea to Count One of the six-count Second

 Superseding Indictment; (2) accept Defendant’s plea of guilty to the lesser included offense of the

 charge in Count One, that is of conspiracy to distribute five (5) grams or more of methamphetamine

 (actual) and fifty (50) grams or more of a mixture and substance containing a detectable amount of

 methamphetamine, a Schedule II controlled substance, in violation of 21 U.S.C. §§ 846 and

 841(b)(1)(B); (3) adjudicate Defendant guilty of the lesser included offense of the charge in Count

 One of the Second Superseding Indictment, that is of conspiracy to distribute five (5) grams or more

 of methamphetamine (actual) and fifty (50) grams or more of a mixture and substance containing

 a detectable amount of methamphetamine, a Schedule II controlled substance, in violation of 21

 U.S.C. §§ 846 and 841(b)(1)(B); (4) defer a decision on whether to accept the plea agreement until

 sentencing; and (5) find Defendant shall remain in custody until sentencing in this matter [Doc. 335].

 Neither party filed a timely objection to the report and recommendation. After reviewing the record,

 the Court agrees with the magistrate judge’s report and recommendation. Accordingly, the Court

 ACCEPTS and ADOPTS the magistrate judge’s report and recommendation [Doc. 335] pursuant



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 to 28 U.S.C. § 636(b)(1) and ORDERS as follows:

       (1)    Defendant’s motion to withdraw her not guilty plea to Count One of the Second

              Superseding Indictment is GRANTED;

       (2)    Defendant’s plea of guilty to the lesser included offense of the charge in Count One,

              that is of conspiracy to distribute five (5) grams or more of methamphetamine

              (actual) and fifty (50) grams or more of a mixture and substance containing a

              detectable amount of methamphetamine, a Schedule II controlled substance, in

              violation of 21 U.S.C. §§ 846 and 841(b)(1)(B) is ACCEPTED;

       (3)    Defendant is hereby ADJUDGED guilty of the lesser included offense of the charge

              in Count One, that is of conspiracy to distribute five (5) grams or more of

              methamphetamine (actual) and fifty (50) grams or more of a mixture and substance

              containing a detectable amount of methamphetamine, a Schedule II controlled

              substance, in violation of 21 U.S.C. §§ 846 and 841(b)(1)(B).

       (4)    A decision on whether to accept the plea agreement is DEFERRED until sentencing;

              and

       (5)    Defendant SHALL REMAIN in custody until sentencing in this matter which is

              scheduled to take place on Monday, December 2, 2013 at 2:00 p.m. before the

              Honorable Harry S. Mattice, Jr.

       SO ORDERED.

       ENTER:

                                                         /s/Harry S. Mattice, Jr.
                                                         HARRY S. MATTICE, JR.
                                                    UNITED STATES DISTRICT JUDGE

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